 Case 13-17148-KCF               Doc 28 Filed 07/28/13 Entered 07/29/13 00:46:34                     Desc Imaged
                                      Certificate of Notice Page 1 of 4
B18 (Official Form 18) (12/07)
                                     UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                       Case No.: 13−17148−KCF
                                       Chapter: 7
                                       Judge: Kathryn C. Ferguson

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Adam K. Gonzalez
   400 Chamberlain St.
   South River, NJ 08757
Social Security No.:
   xxx−xx−6489
Employer's Tax I.D. No.:




                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,
IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           BY THE COURT

Dated: July 26, 2013                                       Kathryn C. Ferguson
                                                           United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
 Case 13-17148-KCF               Doc 28 Filed 07/28/13 Entered 07/29/13 00:46:34                       Desc Imaged
                                      Certificate of Notice Page 2 of 4
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
         Case 13-17148-KCF              Doc 28 Filed 07/28/13 Entered 07/29/13 00:46:34                               Desc Imaged
                                             Certificate of Notice Page 3 of 4
                                                United States Bankruptcy Court
                                                   District of New Jersey
 In re:                                                                                                     Case No. 13-17148-KCF
 Adam K. Gonzalez                                                                                           Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0312-3                  User: admin                        Page 1 of 2                          Date Rcvd: Jul 26, 2013
                                       Form ID: b18                       Total Noticed: 19


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 28, 2013.
 db            +Adam K. Gonzalez,    400 Chamberlain St.,     South River, NJ 08757-5227
 pp          #+Diane Moniz,     Midland Paralegal Services LLC,     80 Broad Street,    Phillipsburg, NJ 08865-1207
 513814347     +CACH LLC,    4340 S MONACO, 2ND FL,     DENVER CO 80237-3408
 513814350     +CAPITAL ONE,    POB 30253,    SALT LAKE CITY UT 84130-0253
 513814348     +CAPITAL ONE - BEST BUY,     POB 30253,    SALT LAKE CITY UT 84130-0253
 513814349     +CAPITAL ONE BANK USA NA,     POB 30253,    SALT LAKE CITY UT 84130-0253
 513814352     +CECRB - JC PENNY,    POB 965007,    ORLANDO FL 32896-5007
 513814351     +CECRB - TOYS R US,    POB 965007,    ORLANDO FL 32896-5007
 513814353     +CECRB - WALMART,    POB 965024,    ORLANDO FL 32896-5024
 513814355     +GMAC MORTGAGE,    POB 4622,    WATERLOO IA 50704-4622
 513814361     +THE BUREAUS,    1717 CENTRAL ST,    EVANSTON IL 60201-1590

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 smg          +E-mail/Text: leah.bynon@usdoj.gov Jul 26 2013 22:56:37       U.S. Attorney,    970 Broad St.,
                Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2523
 smg          +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jul 26 2013 22:56:30        United States Trustee,
                Office of the United States Trustee,    1085 Raymond Blvd.,     One Newark Center,   Suite 2100,
                Newark, NJ 07102-5235
 513904538    +EDI: ATLASACQU.COM Jul 26 2013 21:33:00      Atlas Acquisitions LLC,     294 Union St.,
                Hackensack, NJ 07601-4303
 513814347    +EDI: STFC.COM Jul 26 2013 21:33:00      CACH LLC,    4340 S MONACO, 2ND FL,    DENVER CO 80237-3408
 513814354    +EDI: RMSC.COM Jul 26 2013 21:33:00      GEMB - AMAZON,    POB 965015,    ORLANDO FL 32896-5015
 513814356    +EDI: CITICORP.COM Jul 26 2013 21:33:00      HOME DEPOT,    POB 6497,    SIOUX FALLS SD 57117-6497
 513814357    +EDI: CBSKOHLS.COM Jul 26 2013 21:33:00      KOHLS,    POB 3115,    MILWAUKEE WI 53201-3115
 513814358     EDI: PRA.COM Jul 26 2013 21:38:00      PORTFOLIO RECOVERY,    120 CORPORATE BLVD,
                NORFOLK VA 23502
 513814360    +EDI: WTRRNBANK.COM Jul 26 2013 21:33:00      TARGET,    POB 673,    MINNEAPOLIS MN 55440-0673
                                                                                                TOTAL: 9

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
 While the notice was still deliverable, the notice recipient was advised to update its address with the court
 immediately.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 28, 2013                                       Signature:
     Case 13-17148-KCF        Doc 28 Filed 07/28/13 Entered 07/29/13 00:46:34               Desc Imaged
                                   Certificate of Notice Page 4 of 4


District/off: 0312-3         User: admin                  Page 2 of 2                  Date Rcvd: Jul 26, 2013
                             Form ID: b18                 Total Noticed: 19


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 26, 2013 at the address(es) listed below:
              Joel A. Ackerman   on behalf of Creditor   Ocwen Loan Servicing, LLC jackerman@zuckergoldberg.com
              Peggy E. Stalford   pstalford@pstrustee.com, nj10@ecfcbis.com;ysylvester@pstrustee.com
                                                                                            TOTAL: 2
